Case 1:25-cv-05071-AT Document 4 Filed 06/47fP5~ ree ye AO) f |
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AO 440 (Rev, 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe _
Southem Disirict of New York

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‘ )
Oando Aviles

Plaintiffs) )- Ce,

¥. Civil Action No.
Mile Hadlded 2
Defendant(s) 5
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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ale york, aly

’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --- of 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to. the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,

whose name and address are:
Olen da Aviles
Lf{t-O3 loth Sheet Apt 64
Lowg Helene cry Sy Ul sj
Tf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or r raotion ‘with the court.
So CLERK OF COURT

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Signature af Clerk or Deputy Clerk

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JOE TORRES

AO 440 (Rev. 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe —
Souther District of New York

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OV londo Avile
Plaintiff(s) ). Da,
v. Civil Action No.
Oo )
Aynicnoe, eves 3
Defendant(s) — )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

 Amende. Beves
464 StH Avenue 10/53
afew Vo rk 1 af ¥
’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received if) — of 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose tame and address are:
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Long Z Tslaach city Ny rei
If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion mn. wit. the: ‘court,

CLERK OF COURT

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Signature of Clerk or Deputy Clerk

Date: (2{17/ VA.

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" "AO 440 (Rov. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe _
Southern District of New York

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Plaintiffts) ). oo,
¥. Civil Action No.
Ih aghip yok Dewsle ng)
¥ Defendant(s) )
SUMMONS IN A CIVIL ACTION

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To: Defendant's name and address)
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Vit Sth Rrenavce tars?
New Vo re, Ny

’ A lJawsnit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — of 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R, Civ.
P. 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedore. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

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lovy Bsloud Cry, Ny eel
Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with: the court.

oA we CLERK OF COURT

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Signature of Clerk or Deputy Clerk

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AO 440 (Rev, 06/12) Sumgnons in a Civil Action

UNITED STATES DISTRICT COURT

forthe —
Southern Distriot of New York

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Ovlande A yites
Plaintiffs) ). . Los .
¥. Civil Action No.
Devid Hunt >
Defendant(s) j
SUMMONS IN A CIVIL ACTION

To! (Dafendant’s nome and address)

LAT FH Brveave fos

New York, Ny

’ A lawsuit has been filed against you.

Within 21 days afier service of this summons on you (not counting the day you received it) —— or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Orland e Avi ler
L{t-o3 forth Street e+ GA
Lowy Tes lon Cixy Ny clo t
Tf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

CLERK OF COURT

Signature of Clerk or Deputy Clerk

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JUDGE TORRES
AO 440 (Rev. 06/12) Summons in a-Civil Action

UNITED STATES DISTRICT COURT

forthe —
Southem District of New York

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Orlando Ayies )
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¥. Civil Action No.
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AAU, A uszqesti 3
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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dew York iN y
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — ot 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) —- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,

whose nate and address are:

Orlando Av tes
— LLL-03, lotr Streat Ape GIA

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the ccurt.

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"Signature of Clerk or Deputy Clerk

Date: lb | My 5°

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AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe _
Southern District of New York

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Plaintiffs) ). a
y. } Civil Action No.
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) weYne Chan )
f Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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Mew Yerk Ww y
’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)--— or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plainfiff’s attorney,

whose name and address are:
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Cova slave) Ciky wy LiL ol

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the cont. ’

CLERK OF COURT

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Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action

Bf wey

UNITED STATES DISTRICT COURT

for the
Southem District of New York

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Otlende Avie )
Plaintiff() ). .
v. Civil Action No.

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ren Nakamoto ,
Defendant(s) iy
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Bryon Nakamete
Ab Sth Aveave torts
New York wy

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Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -—- you nmust serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

Orlando Auvles

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Loni Pelond city Why troy

If you fail fo respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

° CLERK OF COURT
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Date bff 2% a Ne GON
So, . Signature of Clerk or Deputy Clerk

AO 440 (Rev. 06/12) Sunomons in a Civil Action

UNITED STATES DISTRICT COURT

forthe —
Southern District of New York

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driando Kviles )
Plaintiffs) ) -.
¥. ; Civil Action No.
d . . ) .
) . .
Lavren lawson yd
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

leavin Lawsan
4iq 57 Avenue [aI53

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Within 21 days after service of this summons on you (not counting the day you received if) — or 60 days if you
are tho United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff'an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,

whose name and address are:

Oriende Pyles
Lijo3 lon sheet Apt 64

Lary BS tea ad City t Aby lilo?
Lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint

You also must file your answer or motion with the court.

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Date: (g | [7] [ros i e oat

" Signature of Clerk or Deputy Clerk

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ToS
AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe _
Southern District of New York

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Orlando Aviles )
Plaintiffs) )- . _o. .
v. } Civil Action No.
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) -
Helena @ 3}
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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jew York, Ny
"A lawsuit bas been filed against you.

Within 21 days after service of this summons on you (not counting the day you received if) -— ot 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

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Cong Boland Gp, AY Hho
If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

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Case 1:25-cv-05071-AT Document4 Filed 06/17/25 Page 10of13

JUDGE TORRES

AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

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Plaintifi(s) ). a
v. Civil Action No.
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Ma AG Mekewey 3}
Defendant(s) { }
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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$4 574 Meave jo, 53
Wi aew Yo rk, N Y
’ A Jawsnit has been filed against you.

Within 21 days after service of this symmons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are:
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file yout answer or motion with the court.
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Date: b | 7) | Dh ve noes

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Case 1:25-cv-05071-AT Document4 Filed 06/17/25 Page 11 of 13

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AO 440 (Rev. 06/12} Suromons in a Civil Action

UNITED STATES DISTRICT COURT

forthe —
Southern Distriot of New York

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Crlondo — Aviles )

Plaintiffes) ). oO

v. Civil Action No.
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Wlill Chea. 3S
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Will Chen
yup rt. Povenave 12163

" A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or eroployee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an angwer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer ot motion must be served on the plaintiff or plaintiff's attomey,

whose name and address are:

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L133 Lott Stree Vet 6A
Lows re lod Coby Ny HL O|
If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or inotign with the court. ‘

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aN CLERK OF COURT

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Date: b | 1 LAS... WE ws . ,
BF "Signature of Clerk or Deputy Clerk

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Case 1:25-cv-05071-AT Document4 Filed 06/17/25 cy 12 of
SUE TORIES

AO 440 (Rev, 06/12) Summons in a Civit Action -

UNITED STATES DISTRICT COURT

for the _
Southern District of New York

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Olondo Aviles )
Plaintiffs) ) . . - .
v. Civil Action No.
SO )
yo
Andy Tedesco 3}
Defendant(s) )
- SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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4267 Bit favenve (4153
al Ziv Y ag k 4 n Y
’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —- ot 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
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Lf] -Os jotn Seeeeh Wr CW

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If you fail to respond, jadgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with'the court.

CLERK OF COURT

” Signature of Clerk or Deputy Clerk

Date: b I 25 ve ‘

Case 1:25-cv-05071-AT Document 4 Page 13 of 13

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JUDGE TORFES .

AO 446 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COUR’

forthe
Southern District of New York

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Of\ando  Pruies )
Plaintiffs) ). . . .
Vv. ; Civil Action No.
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).
Marhy Cand cho: oy
Defendant(s} )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Work Camacho
HA64¢ SGA Avence 13/53
cleus York, N y
A lawsuit has been filed against you,

Within 21 days after service of this summons on you (not counting the day you received it) — of 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attormey,

whose name and address are:

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H you fail to respond, judgment by default will bc entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

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=" Signature of Clerk or Deputy Clerk

Date: o] \} | PS

